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UN|TED STATES DlSTR|CT COURT f
WESTERN DlSTFl|CT OF TENNESSEE »"i-F-C’ fill ,, - ;)t`
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UN|TED STATES OF AMER|CA

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CLt? F§tl . ,
vs 2:020R20356-04-B W §t §§F'§§l »=. rl§§r§s§rs

JASON KEEL
Stephen B. Shankman, FPD
Defense Attorney
200 Jefferson Avenue, #200
|Vlemphis, TN 38103

 

JUDGI\llENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 6 of the indictment on August13,2003. According|y,
the court has adjudicated that the defendant' is guilty of the following offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Number(sj
Concluded
21 U.S.C. § 846 Conspiracy to Distribute Diazepam (“Valium") 10/30/2001 6

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the l\/landatory
Victims Fiestitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/18/1975 N|ay 25, 2005
Deft’s U.S. lVlarshal No.: 18545-076

Detendant’s Mailing Address:
1963 Jefferson #1

Memphis, TN 38104 BVQU'\

J. DANlEL BREEN
U TED STATES DISTRICT JUDGE

y?\ , 2005

Thls document entered on the docket sheet in compliance
Wim sue ss and/or 32(b) rach on 'Z 125 jcz/A

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PROBAT|ON
The defendant is hereby placed on probation for a term of 1 Year.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPEHV|S|ON

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notificaticns and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendantshall participate in substance abuse testing and treatment as directed
by the Probation Officer;

2. The defendant shall maintain his current employment;

3. The defendant shall cooperate in DNA collection as directed by the Probation
Officer.

CRIN|INAL IV|ONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $250.00

The Specia| Assessment shall be due immediately.

F|NE
A Fine in the amount of $ 250.00 is imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 336 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

Stephen B. Shankman

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

